  Case 1:06-cv-01083-GLS-RFT Document 4 Filed 09/11/06 Page 1 of 1




                             CIV IL M OTION CALENDAR
                      September 1 1 th, 2 0 0 6 - 1:0 0 PM - ALBANY
                      HONORABLE GARY L. SHARPE - PRESIDING
                      COURT CLERK:          W . Griffin
                              LAW CLERK: D. Day
                      COURT REPORTER:            B. Buckley

                                                (Oral)

David Price, et al.

                      V S.                      1 :0 6 cv1 0 8 3 (GLS/ RFT)

       Albany County Board of Elections, et al.


       RETURN ON APPLICATION FOR ORDER TO SHOW CAUSE FOR TRO

APPEARANCES:


Of fice of Thomas M arcelle              Tom M arcelle, Esq., for the plaint iff

NYS BOE                            Todd Valentine, Patricia M urray Esqs., for the
                                   defendant

Albany County BOE                      Kristina Burns, Esq. for deft.

1 :0 5 pm   In Court. Oral argument begins.

          Pltf is seeking relief as to tw o absentee ballots/voters; NYS BOE argues;
County BOE takes no position, but advises that this condition may exist in other
elections and that all voters may not be addressed; Court= acknow ledges that
votes must count and grants the TRO to a limited extent to take care of the
immediate problem; Counsel for Pltfs to submit proposed Order, crafted to take into
account the eventuality of the mat ter.

2 :2 0 pm Adj.
